      Case 2:17-cv-00196-TOR      ECF No. 28   filed 06/14/18     PageID.340 Page 1 of 28




 1                                                      THE HONORABLE THOMAS O. RICE
 2
                                                            HEARING DATE: JUNE 26, 2018
                                                             WITHOUT ORAL ARGUMENT
 3                                                                    MOVING PARTY
 4
 5
 6
 7
 8
 9
10
                          IN THE UNITED STATES DISTRICT COURT
11
12                          EASTERN DISTRICT OF WASHINGTON

13
     CHRISTOPHER A. SANTAMOUR and                  CASE NO.: 2:17-CV-0196-TOR
14 JOHN KELLY PEIGHTAL, individually

15 and on behalf of all others similarly           PLAINTIFFS’ NOTICE OF MOTION
     situated,                                     AND MEMORANDUM IN SUPPORT
16                                                 OF PLAINTIFFS’ UNOPPOSED
17                Plaintiffs,                      MOTION FOR ORDER GRANTING
                                                   FINAL APPROVAL OF CLASS
18 v.                                              ACTION SETTLEMENT
19
     UPS GROUND FREIGHT, INC., a                       Date:      June 26, 2018
20 Virginia Corporation,                               Time:      1:30 pm
21                                                     Judge:     Hon. Thomas O. Rice
                       Defendant.
22
23
24
25
26
27
                                                 -i-
      PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                                ACKERMANN & TILAJEF, P.C.
      APPROVAL OF CLASS ACTION SETTLEMENT                 2602 NORTH PROCTOR ST. #205, TACOMA, WA 98406
                                                                      P: (253) 507-4619 F: (253) 276-0081
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 1
           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2         NOTICE IS HEREBY GIVEN that, on June 26, 2018 at 9:00 a.m., in Courtroom
 3
     902 of the Thomas S. Foley U.S. Courthouse, 920 West Riverside Avenue, Spokane,
 4
 5
     Washington, before the Honorable Judge Thomas O. Rice, pursuant to Fed. R. Civ. P.

 6 23(e), Plaintiffs Christopher A. Santamour and John Kelly Peightal (collectively,
 7
     “Plaintiffs”), individually and on behalf of all others similarly situated, will and do hereby
 8
 9 move this Court for entry of the Proposed Order filed concurrently herewith:
10     1. Finally certifying the Class, as defined in the settlement agreement (“Settlement
11
           Agreement”) between Plaintiffs and Defendant UPS Ground Freight, Inc.
12
13         (“Defendant”) and the Court’s Order Granting Preliminary Approval of Class

14         Action Settlement;
15
       2. Finally appointing Plaintiffs as the Class Representatives for purposes of
16
17         settlement;

18     3. Finally appointing Ackermann & Tilajef, P.C. and India Lin Bodien, Attorney at
19
           Law, as Class Counsel;
20
21     4. Finding that notice of the settlement was properly provided to the Class in

22         accordance with the Court’s Order Granting Preliminary Approval;
23
       5. Finally approving the settlement as fair, adequate, and reasonable, based upon the
24
25         terms set forth in the Settlement Agreement and the results of the class notice
26
27
                                                  - ii -
     PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                                  ACKERMANN & TILAJEF, P.C.
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 1
              distribution process, including the allocation for attorneys’ fees and litigation costs1,

 2            Settlement Administrator expenses, and the Class Representative enhancement
 3
              awards;
 4
 5
          6. Binding all Class Members to the terms of the Settlement Agreement, including the

 6            Release specified therein; and
 7
          7. Retaining jurisdiction to enforce the Settlement Agreement for one year from the
 8
 9            effective date of the settlement to enforce the terms of the settlement.

10            This motion is based upon this Notice of Motion and Motion; the Memorandum of
11
     Points and Authorities in Support of Final Approval; the declarations submitted herewith;
12
13 the Court’s Order Granting Preliminary Approval to the settlement; the other records,
14 pleadings, and papers filed in this action; and upon such other arguments as may be

15
     presented to the Court.
16
17
18

19
     1
20       Plaintiffs’ counsel filed a separate Notice of Motion and Motion for Order Granting
21
     Award of Attorneys’ Fees and Costs on May 18, 2018, ECF No. 24, (“Attorneys’ Fees
22
     Motion”). As stated in the Attorneys’ Fees Motion, Plaintiffs’ counsel is submitting a
23
24 proposed Order with this motion for final approval of the class action settlement that
25
     simultaneously grants final approval to the proposed Settlement and to the request for
26
27
     fees, costs, settlement administration expenses, and the proposed enhancement awards.

                                                     - iii -
         PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                                  ACKERMANN & TILAJEF, P.C.
         APPROVAL OF CLASS ACTION SETTLEMENT                   2602 NORTH PROCTOR ST. #205, TACOMA, WA 98406
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 1
 2                                            Respectfully submitted,
 3
                                              ACKERMANN & TILAJEF, P.C.
                                              INDIA LIN BODIEN, ATTORNEY AT LAW
 4
 5
 6
     Dated: June 14, 2018                                  _______________________________
 7                                                 Co-Class Counsel for Plaintiffs and the class
 8
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                                                 - iv -
     PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                                 ACKERMANN & TILAJEF, P.C.
     APPROVAL OF CLASS ACTION SETTLEMENT                  2602 NORTH PROCTOR ST. #205, TACOMA, WA 98406
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     PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                                ACKERMANN & TILAJEF, P.C.
     APPROVAL OF CLASS ACTION SETTLEMENT                 2602 NORTH PROCTOR ST. #205, TACOMA, WA 98406
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 1
                        MEMORANDUM OF POINTS AND AUTHORITIES

 2            INTRODUCTION & RELIEF REQUESTED
 3
              This motion seeks final approval of a wage-and-hour class action settlement (the
 4
 5
     “Settlement”) for the non-reversionary Gross Settlement Amount (“GSA”) of $305,834.00

 6 between Plaintiffs Christopher A. Santamour and John Kelly Peightal (“Plaintiffs”) and
 7
     Defendant UPS Ground Freight, Inc. (“Defendant”) (collectively the “Parties”) for a
 8
                          2
 9 settlement class of 133 current and former truck drivers who were employed by Defendant
10 in the state of Washington and who were paid on a per-mile piece-rate basis from May 12,
11
     2014 through February 3, 2018 (“the Class” or “Class Members”).
12
13            Under the terms of the Settlement, which the Court has preliminarily approved, if

14 the Court now grants final approval, all Class Members who did not timely and validly opt-

15
     out of the Settlement will share the Net Settlement Amount (“NSA”) of $169,506.93 pro
16
17 rata based on their Proportionate Share of the Settlement Proceeds. The following chart
18 sets forth the allocation of the GSA pursuant to the Settlement:

19
     //
20
21
22
     2
23        Pursuant to the Settlement Agreement and the Motion for Preliminary Approval of
24 Class Action Settlement (“Preliminary Approval Motion”), the Parties anticipated the
25
     settlement class consisted of 126 members. However, it was discovered during the notice
26
27 process that there are actually 133 total Class Members.

                                                   -8-
         PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                        INDIA LIN BODIEN, ATTORNEY AT LAW
         APPROVAL OF CLASS ACTION SETTLEMENT               2522 NORTH PROCTOR ST. #387, TACOMA, WA 98406
                                                                       P: (253) 212-7913 F: (253) 276-0081
                                                                               INDIA@INDIALINBODIENLAW.COM
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 1                                                                 Total Amount
 2                  Gross Settlement Amount                          $305,834.00
                    Attorneys’ Fees (25% of the GSA)                ($76,458.50)
 3                  Litigation Costs                                ($10,000.00)
 4                  Settlement Administrator Costs                    ($9,500.00)
                    Enhancement Awards ($7,500 Each)                ($15,000.00)
 5                  Estimated Employer Taxes                        ($25,368.57)
 6                  Net Settlement Amount                            $169,506.93
 7         As discussed below, following distribution of the Class Notice, there were no
 8
     objections to the Settlement, and no Class Members opted out of the Class. The absence
 9
10 of any objections or opt-outs raises a strong presumption that the Settlement is fair,
11
     reasonable, adequate, and in the best interests of the Class Members. Furthermore, the
12
     Settlement (1) is the product of arm’s-length negotiations at a private mediation with David
13
14 Rotman serving as the neutral, (2) was negotiated by experienced class action attorneys,

15
     (3) was reached after undertaking sufficient and thorough investigation necessary to
16
     evaluate the relative strength and value of the Class’s claims and Defendant’s defenses,
17
18 and (4) reflects a reasoned compromise based directly on the relative strength and value of

19
     the class’ claims, and the risks, expense, complexity and likely duration of further
20
     litigation. The Class Notice was disseminated in accordance with the notice plan described
21
22 in the Settlement Agreement and the Court’s Preliminary Approval Order [Declaration of
23
     Settlement Administrator Jennifer Mills (“JM Decl.”), ¶¶ 3-9]. The results of the notice
24
     process underscore that final approval is warranted.
25
26         Accordingly, Plaintiffs respectfully request that the Court issue an Order that (1) the
27
     Settlement be finally approved; (2) Plaintiffs be appointed as Class Representatives; (3)
                                                 -9-
     PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                         INDIA LIN BODIEN, ATTORNEY AT LAW
     APPROVAL OF CLASS ACTION SETTLEMENT                2522 NORTH PROCTOR ST. #387, TACOMA, WA 98406
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 1
     Plaintiffs’ attorneys be appointed as Class Counsel, and (4) that the payment amounts as

 2 set forth in the proposed Order be approved.

 3
           FACTUAL AND PROCEDURAL BACKGROUND
 4
 5
           A. NATURE OF THIS ACTION AND THE SETTLEMENT

 6         For the sake of brevity and the avoidance of redundancy, Plaintiffs refer the Court
 7
     to Section II of Plaintiffs’ Attorneys’ Fees Motion and Sections II and III of Plaintiffs’
 8
 9 Preliminary Approval Motion for a detailed account of the factual background surrounding
10 this action prior to the Court’s preliminary approval of the Settlement. In summary,
11
     Plaintiffs are Washington residents who were employed by Defendant as truck drivers
12
13 during the Class Period, and Plaintiffs and the Class Members delivered freight for
14 Defendant in Washington State. Declaration of Craig J. Ackermann in support of Plaintiffs’

15
     Motion for Preliminary Approval (“CJA PAM Decl.”), ECF No. 17, ¶ 18(c). Plaintiffs filed
16
17 this class action lawsuit on May 12, 2017 alleging that, since at least May 12, 2014,
18 Defendant’s drivers were not paid separately and hourly by Defendant for their time spent

19
     on statutory rest periods of ten minutes per every four hours of work. Id. ¶ 19.
20
21         Plaintiffs and Defendant both conceded the risk and inefficiency of continued

22 litigation, and the Parties all elected to mediate this case on November 9, 2017, which
23
     resulted in a negotiated settlement. Id. ¶ 21. These arm’s-length negotiations at mediation
24
25 eventually resulted in a proposed lump sum settlement of $305,834.00 for the putative
26 settlement class. The discussions between counsel during negotiations, and the informal
27
     discovery and mediation conducted in this matter, were sufficient to assess reliably the
                                                 - 10 -
     PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                           INDIA LIN BODIEN, ATTORNEY AT LAW
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 1
     merits of the respective Parties’ positions and to compromise the issues on a fair and

 2 equitable basis. After their own independent investigation and evaluation, Class Counsel

 3
     determined that the settlement terms and conditions proposed during these negotiations
 4
 5
     were and are in the best interest of Plaintiffs and the Class Members. See Preliminary

 6 Approval Motion, ECF No. 16, Section V(C), and evidence cited therein.
 7
           On March 1, 2018, this Court issued an order granting preliminary approval of the
 8
 9 Settlement (ECF No. 20, the “PA Order”). The Court provisionally certified, for the
10 purpose of settlement, a class comprised of: all truck drivers or any similar positions
11
     employed by UPS Ground Freight, Inc. who resided in Washington State, drove at least
12
13 one route of three or more hours within Washington State, and were paid on a per-mile
14 basis by means of mileage pay from May 12, 2014 through February 3, 2018. PA Order,

15
     ECF No. 20, ¶ 3.
16
17         B. THE NOTICE PROCEDURES IN THE PRELIMINARY APPROVAL ORDER WERE

18            IMPLEMENTED
19
           In its Preliminary Approval Order, the Court approved the Class Notice and Share
20
21 Form (collectively the “Notice Packet”), which were attached as Exhibit A to the
22 Settlement Agreement and that describe the basic terms of the Settlement and the rights of
23
     Class Members to participate in the Settlement (by doing nothing), to exclude themselves
24
25 from the settlement (by opting out), to challenge their Proportionate Share, or, if they wish,
26 to object to the settlement while remaining in the Settlement (by submitting a written
27
     objection), and to appear and be heard at the final approval and fairness hearing. See PA
                                                - 11 -
     PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                          INDIA LIN BODIEN, ATTORNEY AT LAW
     APPROVAL OF CLASS ACTION SETTLEMENT                 2522 NORTH PROCTOR ST. #387, TACOMA, WA 98406
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                                                                             INDIA@INDIALINBODIENLAW.COM
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 1
     Order, ¶ 7; CJA PAM Decl., ECF No. 17 at 49-55 (Ex. A). The Court directed the

 2 Settlement Administrator to issue the Notice Packet to the Class Members by first class

 3
     mail. PA Order, ¶ 10. The Class Notice makes clear that, if Class Members do not exclude
 4
 5
     themselves from the Settlement, they will be bound by the Released Claims in the

 6 Settlement Agreement3, and they will automatically receive their Proportionate Share of
 7
     the Settlement Proceeds.
 8
 9            The procedures for disseminating notice to the Class Members established by the

10 Preliminary Approval Order have been fully and properly executed. JM Decl., ¶¶ 3–9. Prior
11
12
13   3
         The Release Claims released by the Settlement Class Members are defined as “any and
14

15 all claims raised in the Action, and all wage and hour claims arising from facts alleged in
16 the Action, from May 12, 2014 through February 3, 2018, including but not limited to
17
     claims for rest breaks or rest break compensation, liquidated damages flowing from unpaid
18

19 rest break compensation, and interest, whether founded on state, federal or local law
20 (including the Fair Labor Standards Act), including but not limited to claims under
21
     Industrial Welfare Act (Chapter 49.12 RCW), WAC 296-126-092(4), and Chapter 49.52
22
23 RCW. CJA PAM Decl., Exhibit 1, ¶ 58. The “Released Parties” are: “Defendant and its
24 former and current parents, subsidiaries, and affiliated corporations, and their respective
25
     officers, directors, employees, partners, shareholders, agents, insurers, employee benefit
26
27 plans, and any other successors, assigns, or legal representatives. . . .” Id.

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         PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                          INDIA LIN BODIEN, ATTORNEY AT LAW
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                                                                                 INDIA@INDIALINBODIENLAW.COM
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 1
     to dissemination of the Class Notice, the Settlement Administrator, Rust Consulting, Inc.,

 2 was provided data files from Defense Counsel containing names, last known addresses,

 3
     Social Security numbers, and mileage data needed to calculate each Class Member’s
 4
 5
     Proportionate Share of Settlement Proceeds. Id. ¶ 7. The Settlement Administrator used the

 6 information it received from Defendant regarding each Class Member to calculate each
 7
     Class Member’s Proportionate Share of the Settlement Proceeds.4 Class Members had an
 8
 9 opportunity to challenge the data used to calculate their estimated Settlement Share. See
10 Declaration of Craig J. Ackermann in Support of Plaintiff’s Motion for Order Granting
11
     Award of Attorneys’ Fees and Costs (“CJA Fees Decl.,”), ECF No. 25, Exhibit A.
12
13            On April 16, 2018, in compliance with the Preliminary Approval Order, the

14 Settlement Administrator sent the approved Notice Packets by first class U.S. mail to all

15
     Class Members. JM Decl., ¶ 9.
16
17            C. THE RESPONSE TO THE DISTRIBUTION OF THE CLASS NOTICE SHOWS THAT THE

18                CLASS MEMBERS UNIFORMLY APPROVE OF THE SETTLEMENT, WHICH IS FAIR
19
20
21
     4
         Each Class Members’ Proportionate Share was calculated based on the Participating Class
22
23 Members’ combined FDMP and Adjusted SLMP during the Class Period as a percentage
24 of all Participating Class Members’ combined FDMP and Adjusted SLMP during the Class
25
     Period, as reflected by the data provided to the Settlement Administrator by Defendant.
26
27 CJA PAM Decl., Exhibit 1, ¶ 41(a).

                                                    - 13 -
         PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                          INDIA LIN BODIEN, ATTORNEY AT LAW
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                                                                                 INDIA@INDIALINBODIENLAW.COM
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                  AND REASONABLE
 1
 2            The response of the Class Members to the distribution of the Class Notice has been
 3
     very positive:
 4
 5
                  Ø The Settlement Administrator, Rust Consulting, Inc., mailed the Notice

 6                   Packet to 132 Class Members. Seven of the notices were returned as
 7
                     undeliverable, but were subsequently re-mailed to updated addresses
 8
 9                   following a skip trace. JM Decl., ¶ 10. As a result, all but one of the Class

10                   Members received actual notice of the Settlement (over a 99% success rate)
11
                     and the Class Notice summarizing the material terms of the Settlement. Id.
12
13                Ø Following distribution of the Class Notice to the Class, not a single Class

14                   Member has objected to the Settlement. Id. ¶ 15.
15
                  Ø Following distribution of the Class Notice to the Class, not a single Class
16
17                   Member has opted out of the Settlement. Id. ¶ 14.

18                Ø 133 Class Members5 will participate in the settlement, and therefore the
19
                     participation rate is an overwhelming 100%. Id.
20
21
22
     5
23       One self-identifying Class Member, who was not included in the Class List, contacted
24 Rust Consulting, Inc. to request inclusion in the Settlement Class. Information regarding
25
     this self-identifying Class Member was forwarded to Counsel for Defendant for research
26
27 to determine if the self-identifying Class Member should be included in the Class. On or

                                                    - 14 -
         PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                          INDIA LIN BODIEN, ATTORNEY AT LAW
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                                                                                 INDIA@INDIALINBODIENLAW.COM
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 1
              Ø After payment of the amount for the attorneys’ fees and litigation costs,

 2               settlement administration costs, and the class representative service awards to
 3
                 the named Plaintiffs, each of the Class Members will receive their pro rata
 4
 5
                 share from the total Net Settlement Amount of $169,506.93. Id. ¶ 18.

 6         As a result, if the Court finally approves the settlement, the average individual
 7
     Settlement payout among the 133 Class Members will be $1,274.49 ($169,506.93 Net
 8
 9 Settlement Amount divided by 133 Class Members), and the maximum estimated payment
10 to a Class Member will be $4,941.76. Id. ¶ 19. The amounts that will be recovered per
11
     Class Member compare favorably with the amounts recovered for class members in several
12
13 similar cases handled by Plaintiffs’ Counsel. For instance, in Dale McMakin, Jr. v.
14 Domino’s Pizza LLC, King County Superior Court Case No. 16-2-20655-7 KNT, the

15
     Honorable Richard McDermott granted final approval to a settlement on behalf of a class
16
17 of 45 truck drivers with similar claims on June 2, 2017 where the average settlement
18 payment per Class Member was $1,481.83 and the highest estimated settlement payment

19
     was $3,156.49. In Aaron Lindholm v. Tate Transportation, Inc., Walla Walla County
20
21 Superior Court Case No. 17-2-00013-3, for example, the Honorable John W. Lohrmann
22
23
24 about April 19, 2018, it was determined that the self-identifying Class Member should be
25
     added to the Settlement Class, increasing the total number of Participating Class
26
27 Members to 133.

                                                - 15 -
     PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL                          INDIA LIN BODIEN, ATTORNEY AT LAW
     APPROVAL OF CLASS ACTION SETTLEMENT                 2522 NORTH PROCTOR ST. #387, TACOMA, WA 98406
                                                                     P: (253) 212-7913 F: (253) 276-0081
                                                                             INDIA@INDIALINBODIENLAW.COM
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 1
     granted final approval to a settlement on behalf of a class of 73 truck drivers with similar

 2 claims on June 29, 2017, and the average settlement payment per Class Member was

 3
     $547.95 and the highest estimated settlement payment was $1,342.98. Thus, the Class’
 4
 5
     response to the Settlement, and the results obtained, clearly support a Court Order granting

 6 final approval to the Settlement.
 7
           THE SETTLEMENT SHOULD BE FINALLY APPROVED AS IT MEETS
 8
 9         ALL CRITERIA FOR FINAL APPROVAL
10
           A. STANDARD OF REVIEW
11
           Approval of a class action settlement is considered against the backdrop of
12
13 Washington’s well-established policy favoring compromise over litigation. See Am. Safety
14
     Cas. Ins. Co. v. City of Olympia, 162 Wn. 2d 762, 772, 174 P.3d 54, 59 (Wash. 2007)
15
16
     (“Washington law strongly favors the public policy of settlement over litigation”); City of

17 Seattle v. Blume, 134 Wn.2d 243, 258, 947 P.2d 223, 230 (Wash. 1997) (“[T]he express
18
     public policy of this state . . . strongly encourages settlement.”). Indeed, in the class action
19
20
     context, the court’s review “must be limited to the extent necessary to reach a reasoned

21 judgment that the agreement is not the product of fraud or overreaching by, or collusion
22
     between, the negotiating parties, and that the settlement, taken as a whole, is fair,
23
24 reasonable and adequate to all concerned.” Pickett v. Holland Am. Line-Westours, Inc., 145
25 Wn.2d 178, 35 P.3d 351 (2001).
26
           When considering a motion for final approval of a class action settlement under Rule
27

                                                  - 16 -
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 1
     23, a court must determine whether the settlement is “fundamentally fair.” Laguna v.

 2 Coverall N. Am. Inc., 753 F.3d 918, 923 (9th Cir. 2014) [quoting Hanlon v. Chrysler Corp.,

 3
     150 F.3d 1011, 1026 (9th Cir. 1988)]. A settlement merits final approval when “the
 4
 5
     interests of the class are better served by the settlement than by further litigation.” Manual

 6 for Complex Litigation (Fourth) (“MCL 4th”), § 21.61 at 424 (2014). Although Rule 23
 7
     imposes procedural requirements on the approval of a class settlement, a court’s only role
 8
 9 in reviewing the substance of a settlement is to ensure that it is “fair, adequate and free
10 from collusion.” Hanlon, 150 F.3d at 1027 (emphasis added). Where Plaintiffs face “real
11
     dangers in proceeding on their case,” where “the class gain[s] significant benefits from the
12
13 settlement,” and where “Plaintiffs’ lawyers receive fees that are overall reasonable,” a class
14 action settlement is “fair, reasonable, and adequate.” Laguna, 753 F.3d at 925.

15
           In determining whether a settlement is fair, reasonable and adequate, Washington
16
17 courts generally consider the following factors: “the likelihood of success by plaintiffs; the
18 amount of discovery or evidence; the settlement terms and conditions; recommendations

19
     and experience of counsel; future expense and likely duration of litigation;
20
21 recommendation of neutral parties, if any; number of objectors and nature of objections;
22 and the presence of good faith and the absence of collusion.” Pickett, 145 Wn.2d at 188–
23
     89, 35 P.3d at 356. The list is not exhaustive and “[t]he relative degree of importance to
24
25 be attached to any particular factor will depend upon and be dictated by the nature of the
26 claim(s) advanced, the type(s) of relief sought, and the unique facts and circumstances
27
     presented by each individual case.” Id. (internal quotation marks omitted). Applying the
                                                  - 17 -
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 1
     above factors, the proposed settlement embodies all of the key features of a settlement that

 2 is fair, reasonable, adequate, and in the best interests of the members of the class, and as

 3
     such, meets all the criteria necessary for final approval.
 4
 5
           B. THE LIKELIHOOD        OF   SUCCESS    BY      PLAINTIFFS AND THE RISK, EXPENSE,

 6             COMPLEXITY, AND LIKELY DURATION OF FURTHER LITIGATION
 7
           Plaintiffs will not reiterate all of the evidence and legal arguments establishing the
 8
 9 Settlement Agreement and the negotiation process that led up to the Court making a
10 preliminary factual finding that it is fair and adequate, which are set forth in detail in
11
     Plaintiffs’ Preliminary Approval Motion. However, it bears repeating that Defendant
12
13 vigorously contested Plaintiffs’ allegations that Defendant engaged in a systematic course
14 of unlawful conduct with respect to truck drivers who were paid on a piece-rate basis and

15
     not paid separately and hourly for rest periods in addition to the per-mile piece-rate pay.
16
17 For example, Defendant raised several defenses that could lead a court to deny class
18 certification, decline to find liability, rule in Defendant’s favor on the merits, and/or

19
     significantly reduce damages which were detailed in the Motion (See Plaintiffs’
20
21 Preliminary Approval Motion, § V(C); CJA PAM Decl., ¶¶ 26–35). Significantly, in
22 addition to the other defenses Defendant asserted, Defendant pointed to the threat of
23
     legislative action—including pending Congressional efforts to federally preempt state meal
24
25 and rest break laws which, if they ever pass, would effectively render Plaintiffs’ claims
26
27

                                                   - 18 -
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 1
     worthless.6 Id. ¶¶ 29–31. Under this Settlement, Class Members will avoid all those risks

 2 and obstacles to recovery, and receive substantial benefits expeditiously.

 3
              C. THE EXTENT OF DISCOVERY COMPLETED AND THE STAGE OF PROCEEDINGS
 4
 5
              The settlement ultimately reached by the parties was the product of Class Counsel’s

 6 review of an extensive body of information, documents, and damages calculations based
 7
     thereon. CJA PAM Decl., ¶¶ 20–22. The information and documents included, among
 8
 9 other things, Plaintiffs’ personnel files, itemized wage statements, and driver logs;
10 Defendant’s class lists of union and non-union drivers, as well as payout charts for the
11
12
13   6
         See, e.g., https://www.overdriveonline.com/trucker-breaks-and-pay-infrastructure-bill-
14

15 fmcsa-boss-confirmation-on-tap-as-congress-returns/ (“Trucking trade groups . . .
16 signaled they intended to leverage Republican control in Washington to enact laws
17
     prohibiting states from requiring carriers to give drivers paid meal and rest breaks. The
18

19 move would rein in states’ ability to interfere with drivers’ federally prescribed work
20 schedules, seeking to reassert the federal government’s role in regulating drivers’ hours
21
     of service and protect carriers from expensive lawsuits.”). Such legislation is currently
22
23 before Congress embedded within several of the 2018 appropriation bills. Of course,
24 Congress could fund the various government agencies through continuing resolutions or
25
     pass legislation that does not contain the retroactive preemption language, as happened in
26
27 2015, 2016 and 2017.

                                                    - 19 -
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 1
     Class Period; Defendant’s Driver Orientation Manual and Employee Reference Guide

 2 documents; additional wage statements and a randomized sample of fifteen non-union

 3
     drivers’ DOT driver logs; and the National Master UPS Freight Collective Bargaining
 4
 5
     Agreement. Id. ¶ 20. Based on the foregoing data, information, and documents, as well as

 6 numerous discussions with Defendant’s counsel, Class Counsel was able to calculate and
 7
     reasonably discount the total estimated potential damages for the Class, as set forth in the
 8
 9 preliminary approval motion papers. Id. ¶¶ 24–25. As a result, Class Counsel is confident
10 that a fair and reasonable settlement was obtained for the Class given the totality of the
11
     circumstances.
12
13         D. THE SETTLEMENT TERMS AND CONDITIONS

14         The terms and conditions of the Settlement, which were submitted to and reviewed
15
     by the Court, are reasonable and fair to the Class. The Court preliminarily approved the
16
17 Settlement’s terms, and the lack of any objectors or requests for exclusion from the
18 Settlement after the Settlement notice dissemination process supports the finding that the

19
     Class Members are satisfied with the fair and reasonable terms of the Settlement as well.
20
21 Although Plaintiffs’ counsel calculated the total amount owed for unpaid rest periods to
22 the Class to be approximately $391,838.63, exclusive of interest and double damages,
23
     Plaintiffs agreed to resolve this matter for $305,834.00, or approximately 78% of the total
24
25
26
27

                                                 - 20 -
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 1
     amount at issue,7 excluding penalties and interest, in large part because of Defendant’s

 2 potential defenses and the other risks involved in litigating this case. The Settlement is fair

 3
     and reasonable in light of these considerations.
 4
 5
              E. THE PRESENCE OF GOOD FAITH ARMS’ LENGTH NEGOTIATION AND ABSENCE

 6                OF COLLUSION

 7
              The settlement was the product of extensive arm’s-length negotiations at a mediation
 8
 9 presided over by David A. Rotman on November 9, 2017. CJA PAM Decl., ¶ 21. Though
10 cordial and professional, the settlement negotiations were adversarial and non-collusive,
11
     and conducted by counsel deeply familiar with class action litigation. The settlement
12
13 reached is the product of substantial effort by the parties and their counsel.
14            F. THE EXPERIENCE AND VIEWS OF COUNSEL
15
              Where Class Counsel are qualified and well-informed, their opinion that a settlement
16
17 is fair, reasonable, and adequate is entitled to significant weight. See Pelletz v.
18 Weyerhaeuser Co., 255 F.R.D. 537, 543 (W.D. Wash. 2009). Plaintiffs’ Counsel and

19
20
21
     7
         According to Plaintiffs’ counsel’s review of Defendant’s records, $391,838.63 is the
22
23 total amount owed for unpaid rest periods to the Class, exclusive of interest or double
24 damages. See CJA PAM Decl., ¶ 24 (providing a full explanation of how Plaintiffs
25
     calculated its estimated class wide damages based on the data and records provided by
26
27 Defendant).

                                                    - 21 -
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 1
     Defense Counsel are experienced class action and employment attorneys, and have used

 2 their experience and expertise in fashioning a Settlement Agreement that is acceptable to

 3
     both parties. CJA Decl., ¶ 6. Class Counsel maintains that the settlement is fair and
 4
 5
     reasonable. Id.

 6         G. THE REACTION OF SETTLEMENT CLASS MEMBERS
 7
           A positive response to a settlement by the class, as evidenced by the fact that there
 8
 9 are no exclusions or objections, further supports final approval. See Pelletz, 255 F.R.D. at
10 543. As discussed above, all but one Class Member received actual notice of the
11
     Settlement, and no Class Members objected to or opted-out of the Settlement. Accordingly,
12
13 133 Class Members will participate in the Settlement and share the Net Settlement Amount
14 in accordance with their Proportionate Share. It is now clear that the Class supports the

15
     Settlement, since the entire Class will participate in the settlement.
16
17         H. THE CLASS NOTICE PROCESS WAS ADEQUATE TO SATISFY DUE PROCESS

18         The Court-approved Notice Packet, and the distribution process described above,
19
     adequately protected the due-process rights of the absent Class Members. Notice of a class
20
21 action settlement is adequate where notice is given in a “form and manner that does not
22 systematically leave an identifiable group without notice.” Mandujano v. Basic Vegetable
23
     Prods, Inc., 541 F.2d 832, 835 (9th Cir. 1976). The notice should be the best “practicable
24
25 under the circumstances including individual notice to all members who can be identified
26 through reasonable effort.” Torrisi v. Tuscon Elec. Power Co., 8 F.3d 1370, 1374 (9th Cir.
27
     1993). The Notice Packet and distribution process here, which was approved by the Court
                                                  - 22 -
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 1
     in its Preliminary Approval Order, fully satisfied these standards. The Settlement

 2 Administrator reports that there was only one undeliverable Class Notices after remailing,

 3
     thus, all Class Members were sent the Class Notice and over 99% of the Class Members
 4
 5
     received the Notice Packets and actual notice of the settlement. JM Decl., ¶ 10. Under the

 6 rules governing class actions, reasonable efforts must be made to reach all class members
 7
     through the notice plan for distribution of the Class Notice, but each individual in the Class
 8
 9 need not actually receive the Class Notice. See Silber v. Mabon, 18 F.3d 1449, 1454 (9th
10 Cir. 1994) (holding that Fed. R. Civ. P. 23 requires Class Notices to be distributed in the
11
     “best practicable” manner, but that such notices need not be “actually received.”); see also
12
13 Rannis v. Recchia, 380 Fed. Appx. 646, 650 (9th Cir. 2010); Luna v. Household Fin. Corp.
14 III, 2007 Wash. App. LEXIS 216, *12 (Wash. Ct. App. Feb. 12, 2007). The Class Notice

15
     here explained the proposed Settlement and rights of Class Members with respect to
16
17 participating in the Settlement and receiving a Settlement Share, opting out, filing written
18 objections, and/or arranging to appear at the final settlement fairness hearing. See CJA Fees

19
     Decl., Exhibit A. As discussed above, no Class Members objected to the Settlement or
20
21 requested exclusion from the Settlement.
22         THE ATTORNEYS’ FEES AND LITIGATION COSTS SOUGHT ARE FAIR
23
           AND REASONABLE AND SHOULD BE APPROVED
24
25         Plaintiffs further seek final approval of an award of attorneys’ fees to Class Counsel
26 in the total combined amount of $76,458.50 (i.e. 25% of the Gross Settlement Amount),
27
     plus reimbursement of actual litigation costs of $10,000.00. See Attorneys’ Fees Motion,
                                                 - 23 -
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 1
     ¶ 4. For the reasons stated in the Attorneys’ Fees Motion, these requested payments for

 2 fees and cost reimbursements should be finally approved.

 3
           THE COURT SHOULD FINALLY APPROVE THE REQUESTED CLASS
 4
 5
           REPRESENTATIVE SERVICE AWARDS

 6         Finally, Plaintiffs request approval of the proposed $15,000.00 in total Class
 7
     Representative Service Awards ($7,500.00 to both of the Class Representatives). These
 8
 9 proposed awards, to which no Class Member has objected, are intended to recognize the
10 time, effort, and risk that Plaintiffs undertook in bringing this case and helping to secure
11
     the relief obtained for the members of the Class. Service awards compensating named
12
13 plaintiffs for work done on behalf of the class attempt to account for financial or
14 reputational risks associated with litigation, and to promote the public policy of

15
     encouraging individual plaintiffs to undertake the responsibility of representative lawsuits.
16
17 See Rodriguez v. West Publishing Corp., 563 F.3d 948, 958–59 (9th Cir. 2009); Pelletz,
18 592 F.Supp.2d at 1329 (“The trial court has discretion to award incentives to the class

19
     representatives.”). In reviewing whether an incentive award is appropriate, the court should
20
21 take into account “the actions the plaintiff has taken to protect the interests of the class, the
22 degree in which the class has benefitted from those actions . . . [and] the amount of time
23
     and effort the plaintiff expended in pursuing the litigation.” Jones v. Agilysys, Inc., No. C
24
25 12-03516 SBA, 2014 WL 2090034, at *3 (N.D. Cal. May 19, 2014) (quoting Staton, 327
26 F.3d at 931). Incentive awards are generally approved so long as the awards are reasonable
27
     and do not undermine the adequacy of the class representatives. See Radcliffe v. Experian
                                                  - 24 -
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 1
     Info. Solutions, 715 F.3d 1157, 1164 (9th Cir. 2013) (finding incentive award must not

 2 “corrupt the settlement by undermining the adequacy of the class representatives and class

 3
     counsel”).
 4
 5
           Here, the service awards are warranted based on the amount of time Plaintiffs have

 6 spent on behalf of the Class; the fact that Plaintiffs have made their private employment
 7
     information public, and may perhaps bear the stigma for bringing a class-action wage
 8
 9 dispute against their former employer; the fact that Plaintiffs have provided a “general
10 release” of their claims, which is much broader than the “Released Claims” given by the
11
     Class in the Settlement; and the fact that Plaintiffs subjected themselves to the financial
12
13 risks associated with litigation, including the risk of being liable for Defendant’s litigation
14 costs. CJA Decl., ¶ 9; CJA PAM Decl., ¶ 39.

15
           Plaintiffs provided invaluable assistance to Class Counsel and the Class in this case,
16
17 including providing factual background for the proposed mediation and the Class
18 Complaint; participating in phone calls to discuss litigation and settlement strategy;

19
     providing relevant documents; personally attending and actively participating in the
20
21 November 9, 2017 mediation in San Francisco, California; and reviewing the settlement
22 documents. CJA Decl., ¶ 9; CJA PAM Decl., ¶ 39. Plaintiffs agreed to participate in this
23
     case with no guarantee of personal benefit. Id.
24
25         Moreover, the requested Service Award payments to the Plaintiffs are modest and
26 reasonable from the standpoint of the overall settlement fund created by Plaintiffs’ efforts.
27
     The proposed Service Awards are clearly within a range deemed reasonable in the wage-
                                                 - 25 -
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 1
     and-hour class action context. See Pelletz, 592 F.Supp.2d at 1329-30 & n.9 (approving

 2 $7,500 incentive awards where named plaintiffs assisted Class Counsel, responded to

 3
     discovery, and reviewed settlement terms, and collecting decisions approving awards
 4
 5
     ranging from $5,000 to $40,000). Thus, it is respectfully requested that the Court approve

 6 the requested Class Representative Service Awards of $7,500.00 each to the named
 7
     Plaintiffs, in addition to their portion of the Settlement.
 8
 9 //
10 //
11
     //
12
13 //
14 //

15
     //
16
17 //
18 //

19
     //
20
21 //
22 //
23
     //
24
25 //
26 //
27
     //
                                                   - 26 -
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 1
              CONCLUSION

 2         For the foregoing reasons, Plaintiffs hereby respectfully request that the Court finally
 3
     approve the Settlement in the form of the Proposed Order Granting Final Approval
 4
 5
     submitted herewith, including the Gross Settlement Amount, the proposed attorneys’ fees

 6 and costs, the settlement administration fees, and the class representative service payments.
 7
 8
                                              Respectfully Submitted,
 9
10
11
     Date: June 14, 2018                      By:______________________________
12                                            India Lin Bodien, WSBA No. 44898
                                              India Lin Bodien, Attorney at Law
13
                                              2522 North Proctor St. #387
14                                            Tacoma, WA 98406
                                              P: (253) 212-7913
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19
                                              Los Angeles, California 90035
20                                            Telephone: (310) 277-0614
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21
                                              cja@ackermanntilajef.com
22
                                              Attorneys for Plaintiffs and the Putative Class
23
24
25
26
27

                                                  - 27 -
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 1
                                 DECLARATION OF SERVICE

 2         I, Amanda Lutsock, declare under penalty of perjury under the laws of the State of
 3
     Washington that, on the 14th day of June, 2018, I caused to be delivered to the following
 4
 5
     addresses a copy of the foregoing Motion, accompanying Declarations, along with the

 6 Proposed Order, to the Defendant in the manner indicated below:
 7
 8
           Charles Ebernhardt, Esq.                       [X] By ECF
 9         Chelsea Dwyer Peterson, Esq.                   [X] By US MAIL
10         Javier F. Garcia, Esq.                         [ ] By Legal Messenger
           Perkins Coie, LLP                              [ ] By Facsimile
11         1201 3rd Ave.                                  [X] By Email
12         Seattle, WA 98101
           cebernhardt@perkinscoie.com
13         cdpetersen@perkinscoie.com
14         jgarcia@perkinscoie.com
           Attorney for Defendant
15
16         Dated this 14th day of June, 2018, at Tacoma, Washington.
17
18

19                                                _______________________
20                                                Amanda Lutsock
                                                  Legal Assistant
21
22
23
24
25
26
27

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